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                             Exhibit 2
               Case 2:25-cv-00066-JTM-EJD                        Document 13-2                 Filed 01/21/25                 Page 2 of 6


                                                                IN FORMA - PAUPERIS                                                               §8

                                  SHERIFF'S RETURN COVER LETTER
                   CIVIL DISTRICT COURT FOR THE PARISH OF ORLEAN
                                  STATE OF LOUISIANA
                                       Susan Hutson, SHERIFF ORLEANS PARISH
                            421 Loyola Avenue, Suite 403 Civil COurts Bldg, New Orleans, LA 70112
                          Phone:(504)679-6380                                                            FAX:(504)525-4912
                          Web: http://OPSO.us                                                           E-Mail: Inf0@OpsO.us
   Case No.:                                                                                Division:

                                                                 Byroniesha Alexander
                                                                          versus
                                                            Housing Authority of New Orleans

   PARTY TO BE SERVED:                      Housing Authority of New Orleans

   THROUGH:                                 Tiffany Boveland, Esq.

   ADDRESS:                                4100 Touro St.

   SUITE/ROOM:

   CITY:                                    New Orleans, LA 70122

   SPECIAL SERVICE INSTRUCTIONS:



   DOCUMENT TYPE:

   FILED BY ATTORNEY:                      Jack Muse                                                                    3 a 30.               36237

   DATE OF FILING:                                                                          12/23/24

   ATTACHMENTS/EXHIBITS:




                     RETURN FOR PERSONAL SERVICE                                                         DOMICILIARY SERVICE

                                                                              On this                day of                       20     served
(00) 2024-11594 - Service Date 1/7/2025 Time 9:37 AM                          a copy of the within
HOUSING AUTHORITY OF NEW ORLEANS THRU TIFFANY BOVELAND
Personal at 4100 TOURO ST NEW ORLEANS, LA 70122                           -
Kaleenia Burras # 779,                                                    i   on
Motion
 Orleans                                                                      by leaving same at                                  domicile or usual
DEPUTY K BURRAS SERVED AT O          _
                                                                              place of abode
                                                                              in the hand of
                               Sie u                                          a person of suitable age and discretion, residing therein as a
                                                                              member of                                                  domiciliary
                                MeIu Same udy                                 establishment, whose name and other facts                     .
                                                                              connected with this service I leamed by interrogating
                                                                              the said
                         Deputy Sheriff of Orleans Parish                     the said                                                            being
                                                                              absent from                     domicile at time of said service.



                                                            Badge # 779                                       Retumed same day

                                       888888181
                                                                                                     Deputy Sheriff of Orleans Parish

  Revised: May 2, 2022                                                    OPSO                                                Page 1 of 1
  Form 95
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A




                                                                        B25 JAM -8 AM
                                                                        29
                    Case 2:25-cv-00066-JTM-EJD                          Document 13-2               Filed 01/21/25               Page 4 of 6
ATTORNEY'S NAME:                   Muse, Jack W 36237
AND ADDRESS:                       2601 Tulane Ave Ste 700 , New Orleans, LA 70119

                         CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                               STATE OF LOUISIANA
              NO: 2024-11594                                   DIVISION: I                                                     SECTION: 05
                                                         ALEXANDER, BYRONIESHA
                                                                            Versus
                                             HOUSING AUTHORITY OF NEW ORLEANS
                                                CITATION
TO:                      HOUSING AUTHORITY OF NEW ORLEANS
THROUGH:                 COUNSEL TIFFANY BOVELAND
                         4100 TOURO STREET, NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY DECISION TO TERMINATE HOUSING
ASSISTANCE
a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 100 L The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                                        ADDITIONAL INFORMATION
        Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
        Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
        operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
        free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA January 8, 2025
Clerk's Office, Room 402                                                                  CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                                     The Civil District Court
421 Loyola Avenue                                                                         for the Parish of Orleans
New Orleans, LA 70112                                                                     State of LA
                                                                                          by
                                                                                          Celeste Davis, Deputy Clerk
                                                                   SHERIFF'S RETURN
                                                               (for use of process servers only)
                              PERSONAL SERVICE                                                                   DOMICILIARY SERVICE
On this              day of                                     served a copy of   On this              day of                                        served a copy of
the within                                                                         the within
PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY                                  PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY
DECISION TO TERMINATE HOUSING ASSISTANCE                                           DECISION TO TERMINATE HOUSING ASSISTANCE
ON HOUSING AUTHORITY OF NEW ORLEANS                                                ON HOUSING AUTHORITY OF NEW ORLEANS
THROUGH: COUNSEL TIFFANY BOVELAND                                                  THROUGH: COUNSEL TIFFANY BOVELAND
                              Returned the same day                                by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                N                                                                                         a Person of suitable age and
                                                                                   discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                  name and other facts connected with this service I learned by interrogating
                                                                                   HIM/HER the said HOUSING AUTHORITY OF NEW ORLEANS being
Mileage: $                                                                         absent from the domicile at time of said service.
                                 / ENTERED /                                                                      Returned the same day
                    PAPER                             RETURN
                                                                                   Deputy Sheriff of
         SERIAL NO.                 DEPUTY                     PARISH




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             Case 2:25-cv-00066-JTM-EJD             Document 13-2          Filed 01/21/25     Page 5 of 6




                                               Civil. Code of Procedures
                                                     Article 1001
Art. 1001. Delay for answering
          A. A defendant shall file his answer within twenty-one days after service of citation upon him, except as
otherwise provided by law. If the plaintiff files and serves a discovery request with his petition, the defendant shall
file his answer to the petition within thirty days after service of citation and service of discovery request.
          B. When an exception is filed prior to answer and is overruled or referred to the merits, or is sustained
and an amendment of the petition ordered, the answer shall be filed within fifteen days after the exception is
overruled or referred to the merits, or fifteen days after service of the amended petition.
          C. The court may grant additional time for answering.
          Acts 2021, No. 174, §1, eff. Jan. 1, 2022.




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                    Case 2:25-cv-00066-JTM-EJD            Document 13-2             Filed 01/21/25               Page 6 of 6

ATTORNEY'S NAME:             Muse, Jack W 36237
AND ADDRESS:                 2601 Tulane Ave Ste 700 , New Orleans, LA 70119

                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                  STATE OF LOUISIANA
              NO: 2024-11594                        DIVISION: I                                                 SECTION: 05
                                              ALEXANDER, BYRONIESHA
                                                             Versus

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Civil Courts Building                                                      The Civil District Court
421 Loyola Avenue                                                          for the Parish of Orleans
New Orleans, LA 70112                                                      Sta¾ of
                                                                           by ( '
                                                                           Celeste Davis, Deputy Clerk
                                                      SHERIFF'S RETURN
                                                  (for use of process servers only)
                      PERsONAL SERVICE                                                           DOMICILIARY SERVICE
on this        day of                         served a copy of      On this               day of                                        served a copy of
the within                                                          the within
PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY                   PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY
DECISION TO TERMINATE HOUSING ASSISTANCE                            DECISION TO TERMINATE HOUSING AsSISTANCE
ON HOUSING AUTHORITY OF NEW ORLEANS         ,                       ON HOUSING AUTHORITY OF NEW ORLEANS
THROUGH: COUNSEL TIFFANY BOVELAND                                   THROUGH: COUNSEL TIFFANY BOVELAND
                      Returned the same day                         by leaving same at the dwelling house, or usual place of abode, in the hands of
                                        No                                                                                 a Person of suitable age and
                                                                    discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                   name and other facts connected with this service I learned by interrogating
Mileage: $                                                          HIM/HER the said HOUSING AUTHORITY OF NEW ORLEANS being
                                                                    absent from the domicile at time of said service.
                                                                                                    Returned the same day


         SERIAL No.          DEPUTY              PARISH




      ID: 11533683                                          Page 1 of 2
